  NOT FOR PUBLICATION IN WEST'S HAWAI‘I REPORTS AND PACIFIC REPORTER




                                                  Electronically Filed
                                                  Intermediate Court of Appeals
                                                  CAAP-XX-XXXXXXX
                                                  27-AUG-2024
                                                  07:56 AM
                                                  Dkt. 84 OAWST

                             NO. CAAP-XX-XXXXXXX


                   IN THE INTERMEDIATE COURT OF APPEALS

                           OF THE STATE OF HAWAIʻI


                JOHN ROE NO. 91, Plaintiff-Appellee,
                                 v.
  ST. FRANCIS MEDICAL CENTER, a domestic nonprofit corporation,
 Defendant/Third-Party Plaintiff-Appellant, and JANE DOES 1-10;
   DOE CORPORATION 1-10; DOE PARTNERSHIPS 1-10; DOE NON-PROFIT
 ENTITIES 1-10; and DOE GOVERNMENTAL ENTITIES 1-10, Defendants,
                                 and
          KAMEHAMEHA SCHOOLS/BERNICE PAUAHI BISHOP ESTATE;
      ELLIOT K. MILLS; CRYSTAL K. ROSE; JENNIFER N. GOODYEAR-
  KA‘ŌPUA; MICHELLE KA‘UHANE and ROBERT K.W.H NOBRIGA, in their
capacity as Trustees of the Estate of Bernice Pauahi Bishop,1 and
 RICHARD D. GRONNA, as personal representative of the ESTATE OF
    ROBERT MCCORMICK BROWNE, Third-Party Defendants-Appellees


          APPEAL FROM THE CIRCUIT COURT OF THE FIRST CIRCUIT
                      (CASE NO. 1CCV-XX-XXXXXXX)

              ORDER APPROVING STIPULATION TO DISMISS APPEAL
      (By:    Hiraoka, Presiding Judge, McCullen and Guidry, JJ.)

             Upon consideration of the Stipulation for Dismissal of
Appeal With Prejudice (Stipulation to Dismiss), filed June 14,
2024, by Defendant/Third-Party Plaintiff-Appellant St. Francis



      1     Pursuant to Hawaii Rules of Evidence Rule 201 and Hawaiʻi Rules of
Appellate Procedure Rule 43(c)(1), we take judicial notice that Jennifer N.
Goodyear-Kaʻōpua and Michelle Kaʻuhane are current Trustees of the Estate of
Bernice Pauahi Bishop and are automatically substituted as Third-Party
Defendants-Appellees in place of Micah A. Kane and Lance K. Wilhelm.
  NOT FOR PUBLICATION IN WEST'S HAWAI‘I REPORTS AND PACIFIC REPORTER


Medical Center, and Third-Party Defendant-Appellees Kamehameha
Schools/Bernice Pauahi Bishop Estate, and Elliot K. Mills,
Crystal K. Rose, Jennifer N. Goodyear-Kaʻōpua, Michelle Kaʻuhane,
and Robert K.W.H. Nobriga, in their capacity as Trustees of the
Estate of Bernice Pauahi Bishop, the papers in support, and the
record and files, it appears that: (1) the appeal has been
docketed and filing fees paid; (2) the Stipulation to Dismiss is
dated and signed by counsel for all parties appearing in this
appeal;2 (3) the parties agree to dismiss the appeal with
prejudice, and that each party shall bear their own attorneys'
fees and costs incurred on appeal; and (4) dismissal is
authorized by Hawaiʻi Rules of Appellate Procedure Rule 42(b).
           Therefore, IT IS HEREBY ORDERED that the Stipulation
to Dismiss is approved and the appeal is dismissed with
prejudice.    The parties shall bear their own attorneys' fees and
costs on appeal.
           DATED:    Honolulu, Hawaiʻi, August 27, 2024.

                                          /s/ Keith K. Hiraoka
                                          Presiding Judge

                                          /s/ Sonja M.P. McCullen
                                          Associate Judge

                                          /s/ Kimberly T. Guidry
                                          Associate Judge




     2      The briefing period has expired, and Plaintiff-Appellee John Roe
No. 91 (John Roe) and Third-Party Defendant-Appellee Richard D. Gronna, as
personal representative of the Estate of Robert McCormick Browne (Gronna)
have not filed briefs. We thus construe John Roe and Gronna as nominal
parties, and do not require their counsels' signatures on the Stipulation to
Dismiss.
                                      2
